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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

JUDY HARWARD, et al.,                             §
                                                  §
               Plaintiffs,                        §
                                                  §
v.                                                §                  1:21-CV-95-RP
                                                  §
CITY OF AUSTIN,                                   §
                                                  §
               Defendant.                         §

                                      FINAL JUDGMENT

       On February 7, 2025, the Court issued an order adopting United States Magistrate Judge

Dustin Howell’s report and recommendation concerning Defendant City of Austin’s (“Defendant”)

motion to dismiss, (Dkt. 86). (R. & R., Dkt. 94; Order, Dkt. 104). The Court granted Defendant’s

motion and dismissed Plaintiffs’ claims without prejudice.

       As nothing remains to resolve, the Court renders final judgment pursuant to Federal Rule of

Civil Procedure 58.

       IT IS ORDERED that the case is CLOSED.

       SIGNED on February 10, 2025.




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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